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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

SAN FRANCISCO DIVISION
lN RE: BEXTRA AND CELEBREX CASE NO. 05-CV-01699 CRB
MARKETING SALES PRACTICES AND
PRODUCT LIABILITY LITIGATION MDL No. 1699
This Document Relates To: ORDER DISMISSING WITH PREJUDICE

l CERTAIN PLAINTIFFS SUBJECT TO
PLAINTIFFS LISTED ON EXHIBIT 1 ORDER TO SHOW CAUSE

Date: February 4, 201 1
Time: 10:00 a.m.
Judge: Hon. Charles R. Breyer

 

 

On November 22, 2010, this Court issued an Order to Show Cause why certain Plaintiffs
- those who had executed settlement agreements with Pfizer or who had agreements in principle,
but who had not yet completed the settlement process, or who appeared to file duplicative
complaints where the Court dismissed at least one of the complaints already - should not be
dismissed for failure to prosecute their claims (“the OSC”). See Docket No. 3445. The OSC
required any such Plaintiff who wished to oppose the dismissal of his or her suit with prejudice to
file a response to the OSC by December 7 and appear in person at a hearing on December 17.
Prior to the hearing, a number of plaintiffs filed responses to the OSC (some of which were
untimely), and Pfizer submitted a report regarding the progress certain Plaintiffs had made in

completing their settlements since the Court issued the OSC.

 

 

ORDER DISMISSING WI'I`H PREJUDICE CERTAIN PLAINTIFFS SUBJECT TO ORDER TO SHOW CAUSE-
M:OS-CV-Ol699-CRB

 

 

 

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After the hearing, the Court dismissed more than 100 plaintiffs who had failed to respond
to the OSC and had not made progress in completing their settlements,'but stayed the OSC until
February 4, 201 1 with respect to more than 700 plaintiffs who had made some progress in
completing their settlements (“the OSC Dismissal & Stay”). See Docket No. 3463. Since the
Court issued the OSC Dismissal & Stay, a large number of Plaintiffs completed their settlements
Only three Plaintiffs’ counsel filed any response to the OSC; one agreed to dismiss his only case
with prejudice subject to an agreement with Pfizer relating to Medicare claims; another reported
significant progress in finalizing their settlement involving a number of plaintiffs; and another
consented to the dismissal of some Plaintiffs but claimed to have made some progress in
completing the settlements of other Plaintiffs No other Plaintiff or Plaintiffs’ counsel filed any
response to the OSC ofany kind (timely or not).

After carefully considering the status ofthe litigation and the ample notice provided to
litigants by the Court and Pfizer, the Court hereby ORDERS as follows:

1. This Court finds that the Plaintiffs listed in Exhibit 1 either (a) did not respond to
the Court’s OSC and did not make sufficient progress toward settlement, and thus failed to
prosecute their claims adequately, or (b) completed their settlements and consent to dismissal at
this time. The claims ofall such Plaintiffs hereby are DISMlSSED WITl-l PREJUDICE.

2. In light of the parties’ progress in resolving the claims ofthe remaining plaintiffs
in the litigation, and the timelines established in Pretrial Order No. 31, the Court will set the next
case management conference (“CMC”) in this matter for September 30, 2011.

3. The Plaintiffs who cases remain active at this time are admonished to complete
their settlements in short order. lfnecessary, the Court will issue another Order to Show Cause if
the remaining settlements are not completed by the ti of the next CMC.

IT IS SO ORDERED.

Dated: February 0¥ , 201 1

 

HONORABLE CHARLES R. BREYER
UNITED STATES DISTRICT JUDGE

 

 

ORDER DlSMlSSlNG WlTH PREJUDICE CERTAIN PLAINTIFFS SUBJECT TO ORDER TO SHOW CAUSE-
M:OS-CV-Ol699-CRB

 

 

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EXHIBIT 1

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In re.' Bextra & Celebrex Marketing, Sales Practices, & Product Liability Litigation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MDL No. 1699
EXHIBIT l
No. Case Number Plaintiff’s Last Name Plaintiff’s First Name
1 3:05-cv-03860 Turner William
2 3:05-cv-04301 Babin Ronald
3 3:05-cv-04302 Aiola Carol
4 3:05-cv-04436 Sneer Louis
5 3:05-cv-05324 Briley Robert
6 3:05-cv-05324 Carpenter Robert
7 3:05~cv-05324 Goodman Sherman
8 3:05-cv-05324 Kocher Jerry
9 3:05-cv-05355 Annstrong Linda
10 3:05-cv-05355 Belleck Charles
l l 3:05-cv-05355 Daniels Jack
12 3 :05-cv-05355 Donoho William
13 3:05-cv-05355 Hicks Stephen
14 3:05-cv-05355 Kennedy Laurie
15 3:05-cv-05355 Lewis Ruth
16 3 :05-cv-05355 Patrick Gene
17 3105-cv-05356 Disher Scott
18 3:05-cv-05356 Hunt Kenneth
19 3 :05-cv-05356 Roseneau Randal
20 3:05-cv-05356 Sneer Louis
21 3:05-cv-05356 Untalan Jose
22 3:06-cv-00229 Armstrong Linda
23 3:06-cv-00229 Belleck Charles
24 3:06-cv-00229 Daniels Jack
25 3:06-cv-00229 Donoho William
26 3:06-cv-00229 Hicks Stephen
27 3:06-cv-00229 Kennedy Laurie
28 3:06-cv-00229 Lewis Ruth
29 3:06-cv-00229 Patrick Gene
30 3:06-cv-00432 Jackson James
3:06-cv-00452
31 3:06~cv-01652 Smith Leon
32 3 :06-cv-01 879 Bryant James
33 3 :06-cv-01 879 Bums Mary
34 3:06-cv-01879 Clevinger John
35 3:06-cv-01879 Fugate Vurl
36 3:06-cv-01879 Gibbs Buna
37 3:06-cv-01879 Good Phyllis
38 3:06-cv-01879 Hamilton Noralene
39 3:06-cv-01879 Johnson Shurlie
40 3:06-cv-01879 Keene Jerry
41 3:06-cv-01879 Mannie Dortha
42 3 :06-cv-01 879 Mayard Doris
43 3 :06-cv-01 879 Newsome Sally

 

 

 

 

 

 

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In re: Bextra & Celebrex Marketing, Sales Practices, & Product Liability Litigation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MDL No. 1699
EXHIBIT l
No. Case Number Plaintiffs Last Name Plaintiffs First Name
44 3 :06-cv-01 879 Pendleton Kevin
45 3:06-cv-01879 Ramey Joey
46 3:06-cv-01879 Rowe _ Catherine
47 3:06~cv-01879 Slone Laverne
48 3 :06-cv-01 879 Terry Billy
49 3:06-cv-01880 Casey Roger
50 3:06-cv-01880 Fortney Fredrick
51 3:06-cv-01880 Hall Deborah
52 3:06-cv-01880 Hall Patricia
53 3:06-cv'01880 Hampton Lonnie
54 3 :06-cv-01 880 Huff James
55 3:06-cv-01880 Jones Patricia
56 3 :06-cv-01 880 Newsome Naomi
57 3 :06-cv-01 880 Russell Myrt|ene
58 3:06-cv-01880 Salisbury Billie
59 3 :06-cv-01 880 Sesco Bobby
60 3:06-cv-01880 St. John Bonnie
61 3:06-cv-01881 Clark Beverly
62 3:06-cv-01881 Kilgore Evelyn
63 3 :06-cv-01 881 Moore Carolyn
64 3:06-cv-01881 Ratliff Lucille
65 3:06~cv-0188l Robinson Joel
66 3:06~cv-01881 Smith Joe
67 3 :06-cv-01 881 Taylor Fon
68 3:06-cv-02081 Wilson Mark
69 3:06-cv-02474 Wilson Faye
70 3:06-cv-02479 Wilson Faye
71 3:06-cv-02678 Bennett Stela
72 3:06-cv-02678 Hoyt Elsie
73 3:06-cv-02682 Hanson Steve
74 3:06-cv-02682 Karl Sherry
75 3:06~cv-02682 Pearce Carol
76 3:06-cv-02682 Wilkinson James
77 3:06-cv-02688 Talbert Russell
78 3:06-cv-02813 Fountain Linda
79 3:06-cv-02813 Gates Joyce
80 3:06-cv-02813 Gremillion Deanna
81 3:06-cv-02813 Soileau David
82 3 :06~cv-028 l 4 Butler James
83 3 :06-cv-028 l 4 Gay Dana
3:06-cv-03680
84 3:06~cv-02814 Lebourgeois Lynn
85 3:06-cv-03487 Sanders Barbara
86 3:06-cv-03487 Sanders Victor
87 3:06-cv-03526 Brantley Donald

 

 

 

 

 

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MDL No. 1699
EXHIBIT 1

No. Case Number Plaintiff’s Last Name Plaintiff’s First Name
88 3:06-cv-03526 Bridges Lavonne
89 3:06-cv-03526 Corbeil Guy
90 3:06-cv-03526 Doolen Daniel
91 3:06-cv-03526 Hayes Howard
92 3:06-cv-03526 Hendricks Lawrence
93 3:06-cv-03526 Howard Wi||ie
94 3:06-cv-03526 lsreal Scott
95 3:06-cv-03526 Linberg Richard
96 3:06-cv-03526 Miller Deborah
97 3:06-cv-03526 Naime Joyce
98 3:06-cv-03526 Nal| Mabel
99 3:06-cv~03526 New Louise
100 3 :06-cv-03526 Poorman J im
101 3 :06-cv-03526 Rainey Joyce
102 3 :06-cv-03526 Reynolds James
103 3 :06-cv-03526 Smith Forrest
104 3:06-cv-03526 Smith Walter
105 3 :06-cv-03526 Stone Paulette
106 3 :06-cv-03526 Tumage Peggy
107 3:06~cv-03526 Wallace Raymond
108 3 :06-cv-03526 Wood Dimple
109 3:06-cv-03526 Woods Eunice
1 10 3:06-cv-03527 Bullard Arthur
l 1 1 3:06-cv-03527 Crum Freda
1 12 3:06-cv-03527 Mills Bessie
1 13 3:06-cv-03528 Adams Tilford
1 14 3:06-cv-03528 Blankenship Emma
1 15 3:06-cv-03528 Brady Terriann
1 16 3:06-cv-03528 Bruner Carlie
1 17 3:06-cv-03528 Bucklin David
1 18 3:06-cv-03528 Buskirk Jo
1 19 3:06-cv-03528 Castle Tommy
120 3:06-cv-03528 Collins Martin
121 3:06-cv-03528 Durrell Elaine
122 3 :06-cv-03528 Felton Carroll
123 3 :06-cv-03528 Gayheart Billy
124 3:06-cv-03528 Griffin Kervin
125 3:06-cv-03528 Hicks Charles
126 3:06-cv-03528 lngram Tammy
127 3:06~cv-03528 Jackson Sarah
128 3 :06-cv-03528 James Barbara
129 3 :06-cv-03528 Johnson Cathey
130 3:06~cv-03528 Johnson Mildred
131 3:06~cv-03528 Ladner Kirk
132 3:06-cv-03528 Leavings Horace

 

 

 

 

 

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No. Case Number Plaintifl"s Last Name Plaintifl"s First Name
133 3:06-cv-03528 Martin Clara
134 3 :06~cv-03528 Maynard Eva
135 3:06-cv-03528 Moore Sarah
136 3:06-cv-03528 Moye James
137 3:06-cv-03528 Noe Kathy
138 3:06-cv-03528 Pack Melda
139 3:06-cv-03528 Pellegrin Justillian
140 3:06-cv-03528 Philpot Shirley
141 3:06-cv-03528 Powell John
142 3:06~cv-03528 Price James
143 3:06-cv-03528 Roberts Ricky
144 3:06-cv-03528 Schellhaas William
145 3:06-cv-03528 Simmons Verlina
146 3:06-cv-03528 Slone Benny
147 3 :06-cv-035 28 Smal lwood Leroy
148 3:06-cv-03528 Smith John
149 3:06-cv-03528 Smith Margie
150 3:06-cv-03528 Spillers Elizabeth
151 3 :06-cv-03528 Sprague Deborah
152 3:06-cv-03528 Sullwold Aline
153 3:06-cv-03528 Swisher John
154 3:06-cv-03528 White Patricia
155 3 :06~cv-03655 Langham Vandell
156 3:06~cv-03658 Jermea Ann
15 7 3 :06-cv-03663 Douglas Evelyene
158 3 :06-cv-03668 McCul lough Bryan
159 3 :06-cv-03668 McCullough Cheryl
160 3 :06-cv-03671 Graves .1 une
161 3 :06-cv-03671 Graves Larry
162 3:06-cv-04090 Scott Willie
163 3:06-cv-06160 Duvall Arlene
164 3:06-cv-06160 Duvall Sam
165 3:06-cv-06548 Brandt Gaylene
166 3:06-cv-06548 Cleek Mary
167 3:06-cv-06548 Odom Evelyn
168 3:06-cv-07282 Cote Linda
169 3 :06-cv-07331 Henry Mamie
170 3 :06-cv-07392 _ Wellborn Joyce
171 3:06-cv-07392 Wel lbom Vemon
172 3 :06-cv-07649 Boggs Mary
173 3 :06-cv-07737 Norris Louise
174 3:06-cv-07737 Norris Robert
175 3 :06-cv-07902 Nunez .1 acob
176 3:06-cv-07902 Nunez Linda
177 3 :06~cv-07903 Lunday Lonnie

 

 

 

 

 

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MDL No. 1699
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No. Case Number Plaintiff’s Last Name Plaintiff’s First Name
L 178 3:06-cv-07904 Serrata John
1 79 3:06-cv-07904 Serrata Sharon
1 80 3:07-cv-00106 Sutherland Sanford
181 3:07-cv-00213 Wiles Geraldine
182 3 :07-cv-00443 Bumside Frieda
183 3:07-cv-00862 Lewis Gwendolyn
184 3 :07-cv-00862 Lewis Richard
185 3 :07-cv-00864 Surratt Vena
186 3:07-cv-01959 Edwards William
187 3:07-cv-01973 Caldwell Jene
188 3:07-cv-01973 Caldwell Richard
189 3:07-cv-01973 Lonardo Riccardo
190 3:07-cv-01973 Stewart Dorothy
191 3:07-cv-01973 Wadnik Linda
192 3:07-cv-01973 Zamorski John
193 3:07-cv-02144 Allgood Ruth
194 3:07-cv-02144 Andrus lsaac
195 3:07-cv-02144 Boose Marilyn
196 3:07-cv-02144 Brown Gary
197 3:07-cv-02144 Caudill Janice
198 3:07-cv-02144 Dent Daihann
199 3:07-cv-02144 Flato Walter
1 200 3:07-cv-02144 Fromkneht Wayne
201 3:07-cv-02144 Hauth Charles
202 3:07-cv-02144 Hil| Beverly
203 3:07-cv-02144 Klink Rosa
204 3 :07-cv-02 l 44 Koester Michael
L 205 3:07-cv-02144 Lewis Louanda
206 3:07-cv-02144 Martin Robert
207 3:07~cv-02144 McCormick Pamela
208 3 :07-cv-02 144 Merger Terry
209 3:07-cv-02144 Schooley Linda
210 3:07-cv-02144 Staples Margaret
21 1 3:07-cv-02144 Torain Kathy
212 3 :07-cv-021 44 Watkins Tamara
213 3:07-cv-02144 Weddington Trevis
214 3:07-cv-02212 Estate of Ann Hall by her
Administrator Leslie Hall
215 3:07-cv-02212 Samuel Wagdy
216 3 :07-cv-0341 5 Sty|es Geneva
217 3:07-cv-03415 Styles John
218 3:07-cv-03419 Chaney Kevin
219 3 :07-cv-03492 Vantine Wendel
220 3:07-cv-06088 Allums Marcus D.
221 3:08-cv-01492 Green Jerome

 

 

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In re: Bextra & Celebrex Marketing, Sales Practices, & Product Liability Litigation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MDL No. 1699 -
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1 No. Case Number Plaintiff’s Last Name Plaintiff’s First Name_1
222 3:08-cv-03743 Sjoberg Gene
223 3:09-cv-04314 Russell Mary
224 3:09-cv-04315 Dock Trevaris

1 225 3:09-¢v-04316 Garcon Marie

1 226 3:09-cv-04317 Muscat Catherine

1 227 3:09-¢v-04318 Tumer Evelyn

1 228 3:09-cv-04319 Flagler Ronald

1 229 3:09-cv-04320 Knight Regina

1 230 3:09-cv-04321 williams-Fudge Elizabeth

1 231 3;09-cv-04322 Borja Carlos

1 232 3:09-cv-04323 Roman David

1 233 3:09-cv-04324 Charlot oie\a

1 234 3:09-cv-04325 Cutler Weston

1 235 3109-cv-04326 Edwards Joyce
236 3:09-cv-04327 Garabedian Khatchir
237 3:09-cv-04328 Gordon Lena
238 3:09-cv-04329 Kaufman Joseph
239 3:09-cv-04330 Berardi Pasquale
240 3 :09-cv-04331 Rodgers Scott
241 3 :09-cv-04332 Rutsky Bruce
242 3:09-cv-04333 Levy Robert
243 3:09-cv-04334 Schroeder Catherine

1 244 3:09-cv-04335 west Theresa

1 245 3;09-¢v-04346 Tompkins willie
346 3109-cv-04347 Codh'ng vivia 4
247 3:09-cv-04348 Ellberg Beverly
248 3:09-cv-04349 Savino Michael
249 3:09-cv-04350 Grant Oliver

1 250 3:09-cv-04351 Pawlak maine
§§ 1 3 :09-cv-043 52 Pastore Louis
252 3:09-cv-04359 Kelly Hope
253 3:09-cv-04360 Charlot Diela
254 3:09-cv-04361 Russell Mary

Ess 3:09-cv-04362 Cardone Naralie

1 256 3:09-cv-04363 Mazzarena Liia

1 257 3:09-¢v-04364 Roman David

1 258 3:09-cv-04365 Eagen Marcos

1 259 3:09-cv-04366 vivona Ben

1 260 3:09-cv-04367 Clinron cachi

1 261 3;09-cv-04368 Perry Joan
262 3:09-cv-04369 Fugghett Eureatha
263 3:09-cv-04371 Sabow Bruce
264 3:09-cv-O4372 Carmichael Cecilia
265 3:09-cv-04373 Gholston Carey
266 3:09-cv-O4374 Gwynn William

 

 

 

 

 

 

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ln re: Bextra & Celebrex Marketing, Sales Practices, & Product Liability Litigation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MDL No. 1699
EXHIBIT l

No. Case Number Plaintiffs Last Name Plaintiff’s First Name
267 3:09-cv-04375 Hollingsworth Dharl
268 3:09-cv-04376 lglesia Olimpia
269 3:09-cv-04377 Johnson Danny
270 3:09-cv-04395 Claypool David
271 3:09-cv-04438 Dady Eva
272 3:09-cv-04440 Kalil Joe
273 3:09-cv-04441 Major Jean
274 3:09-cv-04442 Miller Ruth
275 3:09-cv-04443 Niemeyer Thomas
276 3:09-cv-04444 Novak Leon
277 3:09-cv-04445 Smith Dale
278 3:09-cv-04446 Theodoris Lacienne
279 3:09-cv-04464 Mainer Henry
280 3:09-cv-04627 Mayweather Earnest
281 3:09-cv-04628 Sabio John
282 3:09-cv-04629 Pruett Patricia
283 3:09-cv-04632 Roberts Earnestine
284 3:09-cv-04634 Stanley Edward
285 3:09-cv-04635 Viger Sharon
286 3:09-cv-04636 Watson Elizabeth
287 3:09-cv-04638 Bialek Carol
288 3:09-cv-04640 Clinton Cathi
289 3:10-cv-04345 Murillo Rachael

 

 

 

 

 

